                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

GLOBAL FORCE ENTERTAINMENT, INC.   )
and JEFFREY JARRETT,               )
                                   )
        Plaintiff,                 )
                                   )
    v.                             )                           No. 3:18-cv-00749
                                   )
ANTHEM WRESTLING EXHIBITIONS, LLC, )
                                   )
        Defendant.                 )

                                               ORDER

       In accordance with the discussion at the conference on July 21, 2020, and in anticipation of

Phase II of this case relating to damages, the parties shall file supplemental briefing on the following

issues: (1) willfulness and the election of remedies in light of Concrete Spaces, Inc. v. Sender, 2

S.W.3d 901 (Tenn. 1999); (2) whether the Court erred in failing to instruct on comparative

negligence and, if so, whether that was invited, plain or clear error; (3) whether the mistake in

question 20 on the Verdict Form relating to the breach of the duty of loyalty is problematic; and (4)

apportionment under the Lanham Act. Those briefs shall be filed by 8:00 a.m. on Friday, July 24,

2020. Also by that deadline, the parties shall file their proposed instructions on damages. If the

parties can agree on some or all of those instructions because most will be covered by pattern

instructions, that will be greatly appreciated by the Court.


       IT IS SO ORDERED.

                                               __________________________________________
                                               WAVERLY D. CRENSHAW, JR.
                                               CHIEF UNITED STATES DISTRICT JUDGE




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